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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CARLTON HARRIS,                     )
                                    )
            Plaintiff,              )
                                    )
      v.                            )                Case No. 1:18-cv-2390 (ABJ)
                                    )
DISTRICT OF COLUMBIA,               )
                                    )
            Defendant.              )
____________________________________)

  DEFENDANT DISTRICT OF COLUMBIA’S MOTION FOR PARTIAL DISMISSAL

       Defendant the District of Columbia, by and through its undersigned counsel, hereby

moves the Court pursuant to Fed. R. Civ. P. 12(b)(6) for partial dismissal of the Amended

Complaint for failure to state a claim upon which relief can be granted. Specifically, the District

seeks dismissal of Plaintiff Carlton Harris’s claims brought pursuant to 42 U.S.C. § 1983. The

District explains the reasons for this request in the attached memorandum of points and

authorities. A proposed order is also attached.

DATED: April 1, 2019                               Respectfully submitted

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                                                   GEORGE C. VALENTINE
                                                   Deputy Attorney General
                                                   Civil Litigation Division

                                                   /s/ Michael K. Addo
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                                                   Chief, Civil Litigation Division Section IV

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                                    )
DISTRICT OF COLUMBIA,               )
                                    )
            Defendant.              )
____________________________________)

 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT
     DISTRICT OF COLUMBIA’S MOTION FOR PARTIAL DISMISSAL

        Plaintiff Carlton Harris fails to plead a valid claim for municipal liability in violation of

42 U.S.C. § 1983 against Defendant the District of Columbia, and therefore, those claims should

be dismissed.

                   THE ALLEGATIONS OF THE AMENDED COMPLAINT

        Plaintiff alleges that on March 29, 2017, he was committed to the D.C. Jail by deputies of

the United States Marshal Service pursuant to an outstanding warrant issued for failure to appear

in federal court in Maryland. Am. Compl. at ¶ 15 [ECF No. 8]. Plaintiff claims that the District

of Columbia Department of Corrections (“DOC”) improperly detained him until June 15, 2017.

Id. at ¶ 16 [8].

        Plaintiff asserts the following separately enumerated claims:

        (1) “Claim 1: § 1983 Liability of District of Columbia for Overdetentions” Id. at ¶¶ 121-

            126 [8];

        (2) “Claim 2: § 1983 Liability of District of Columbia for failing to provide Mr. Harris

            with a release hearing” Id. at ¶¶ 127-133 [8]; and
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       (3) Claim 3: “Common Law Liability of District of Columbia for False Imprisonment”

           Id. at ¶¶ 134-141 [8].

                                       LEGAL STANDARD

       To survive a motion to dismiss, a plaintiff’s “[f]actual allegations must be enough to raise

a right to relief above the speculative level, on the assumption that all the allegations in the

complaint are true (even if doubtful in fact).” Bell Atl. Corp. v. Twombly, 550 U.S. 554, 555

(2007). The Supreme Court has set forth a “two-pronged approach” that a trial court should

utilize when ruling on a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6). Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009). While a trial court generally must consider a plaintiff’s factual

allegations as true, the court should first “identify pleadings that, because they are no more than

conclusions, are not entitled to the assumption of truth. While legal conclusions can provide the

framework of a complaint, they must be supported by factual allegations.” Id. Thus, the basic

pleading standards “demand more than an unadorned, the-defendant-unlawfully-harmed-me

accusation.” Id. (citing Twombly, 550 U.S. at 555).

       Once the court has determined that the plaintiff has asserted “well-pleaded factual

allegations,” it “should assume their veracity and then determine whether they plausibly give rise

to an entitlement to relief.” Id. The Court defined “plausible” as follows:

               A claim has facial plausibility when the plaintiff pleads factual
               content that allows the court to draw the reasonable inference that
               the defendant is liable for the misconduct alleged. The plausibility
               standard is not akin to a “probability requirement,” but it asks for
               more than a sheer possibility that a defendant has acted unlawfully.
               Where a complaint pleads facts that are merely consistent with a
               defendant’s liability, it stops short of the line between possibility
               and plausibility of entitlement to relief.

Id.; See also Atherton v. District of Columbia, 567 F.3d 672, 681 (D.C. Cir. 2009) (quoting

passage with approval). In other words, a plaintiff’s factual allegations must allow a court to
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draw a reasonable inference that the defendant is liable for the misconduct alleged, if the factual

allegations are proven true. See Matrixx Industries, Inc. v. Siracusano, 563 U.AS. 27, 45-46

(2011).

                                            ARGUMENT

          Plaintiff filed the present Amended Complaint in response to the District’s January 2,

2019 Motion for Partial Dismissal. The Amended Complaint does not raise any new causes of

action—Plaintiff is still claiming that (1) the District breached his rights under the Fifth

Amendment in violation of § 1983 by over-detaining him and by failing to provide him with a

release hearing, and (2) the District was deliberately indifferent to his rights. Instead, the

Amended Complaint appears to add about 75 paragraphs of factual allegations about the process

surrounding the release of inmates from the D.C. Jail. Despite these additional factual

allegations, Plaintiff has once again failed to state a claim for municipal liability.

          A “municipality can be liable under § 1983 only where the municipality itself causes the

constitutional violation at issue.” City of Canton v. Harris, 489 U.S. 378, 385 (1989) (emphasis

in original). Like all municipalities, however, the District cannot be held liable on a theory of

respondeat superior. Singletary v. District of Columbia, 766 F.3d 66, 72 (D.C. Cir. 2014) (citing

Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 691 (1978)). “Instead, it is only ‘when execution

of a government’s policy or custom inflicts the injury that the government as an entity is

responsible under § 1983.’” Id. (quoting Monell, 436 U.S. at 694). “In considering whether a

plaintiff has stated a claim for municipal liability, the district court must conduct a two-step

inquiry.” Lesesne v. Doe, 65 F. Supp. 3d 1, 5 (D.D.C. 2014) (quoting Baker v. District of

Columbia, 326 F.3d 1302, 1306 (D.C. Cir. 2003)) (quotations and brackets omitted). A plaintiff

must allege (1) a predicate constitutional violation and (2) “that a custom or policy of the
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municipality caused the violation.” Baker, 326 F.3d at 1306. Critically, a plaintiff must allege

an “affirmative link,” such that the custom or policy was the “moving force” behind the

constitutional violation. Young v. District of Columbia, 107 F. Supp. 3d 69, 81 (D.D.C. 2015).

       A municipality’s policy or custom can be the cause of an injury if (1) “the municipality or

one of its policymakers explicitly adopt[s] the policy that was the moving force of the

constitutional violation”; (2) a policymaker knowingly ignores an unconstitutional practice

consistently enough to constitute custom; or, (3) the municipality fails to respond “to a need in

such a manner as to show deliberate indifference to the risk that not addressing the need will

result in constitutional violations.” Warren v. District of Columbia, 353 F.3d 36, 39 (D.C. Cir.

2004) (internal citations and quotation marks omitted).

       A plaintiff “cannot rely upon scattershot accusations of unrelated constitutional violations

to prove either that a municipality was indifferent to the risk of her specific injury or that it was

the moving force behind her deprivation.” Carter v. Morris, 164 F.3d 215, 218 (4th Cir. 1999).

Rather, “municipal liability will attach only for those policies or customs having a specific

deficiency or deficiencies . . . such as to make the specific violation almost bound to happen,

sooner or later, rather than merely likely to happen in the long run.” Id. (quoting Spell v.

McDaniel, 824 F.2d 1380, 1390 (4th Cir. 1987)) (internal quotation marks and citations omitted)

(emphasis added).

       In his Amended Complaint, Plaintiff fails to properly plead that a District custom or

policy caused a violation of his rights under the Fifth Amendment. Plaintiff appears to be

claiming that the entire release system that the DOC utilizes violates the constitution. But while

Plaintiff discusses at length what he views as the inadequacies of that release system, the fallacy

in his claim is that he appears to concede that over-detentions result merely from human error in
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the operation of that release system. In other words, Plaintiff appears to be alleging that his

over-detention was the result of an oversight by either the D.C. Jail staff or the United States

Marshal Service, rather than alleging that his over-detention was the result of an unconstitutional

custom or policy being adhered to. Plaintiff fails to plead any factual allegations establishing

that such a policy or practice is bound to result in a violation of constitutional rights.

          Plaintiff refers to “The Moss Report,” which was filed by the DOC in a criminal matter

pending in the District Court. See United States v. Harris, Case No. 1:18-cr-00028 (EGS)1. To

the extent that it would even be appropriate for this Court to take judicial notice of the document

cited by Plaintiff, this Report does not conclude that the DOC’s release system is

unconstitutional. Moreover, even if it had reached such a conclusion, the Moss Report appears

to have been completed in October 2018, meaning Plaintiff cannot use it as a basis for claiming

that DOC was on notice of any systemic inadequacies in its release system at the time of

Plaintiff’s alleged over-detention in early 2017.

          Plaintiff has failed to properly plead a claim of municipal liability against the District. In

fact, he has at most, alleged a single violation of his own constitutional rights. See Blakeney v.

O’Donnell, 117 F. Supp. 3d 6, 12 (D.D.C. 2015) (holding that a plaintiff who only alleged that

“his constitutional rights were violated during a single incident” without including proof that it

was caused by an existing, unconstitutional policy failed to plead a claim of municipal liability);

Sanders v. District of Columbia, 522 F.Supp.2d 83, 88 (D.D.C. 2007) (“Proof of a single incident

of unconstitutional activity is insufficient to impose liability [under Section 1983] unless there

was proof that there was a policy in place that was unconstitutional.”) Because Plaintiff has




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    The “Harris” defendant in Case No. 1:18-cr-00028 (EGS) is Jarrell Harris, not Plaintiff.
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failed to establish that an unconstitutional DOC policy was the moving force behind his alleged

over-detention, the Court should dismiss Plaintiff’s § 1983 claims.

                                        CONCLUSION

       For all the reasons stated above, the District requests that the Court dismiss Claims 1 and

2 of Plaintiff’s Amended Complaint.


DATED: April 1, 2019                              Respectfully submitted

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                                                  /s/ Philip A. Medley
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                                    )
DISTRICT OF COLUMBIA,               )
                                    )
            Defendant.              )
____________________________________)

                                             ORDER

          Upon consideration of the Defendant District of Columbia’s Motion for Partial Dismissal,

any opposition thereto, and the record herein, it is this ________day of _____________ 2019

hereby,

          ORDERED that Defendant’s Motion is GRANTED; and it is further

          ORDERED that Claims 1 and 2 of the Amended Complaint are DISMISSED.

          SO ORDERED.




                               HON. AMY BERMAN JACKSON
                               United States District Court

Copies to:

William Claiborne, Esq.
Michael Addo, Esq.
Philip Medley, Esq.
Benjamin Bryant, Esq.




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